Case 9:20-cv-00301-MAD-TWD Document119 Filed 07/03/24 Page 1 of 5

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK.

MICHAEL TORRES,
Plaintiff,
~against- CONSENT DECREE
DEPARTMENT OF CORRECTIONS AND No. 9:20-CV-301
COMMUNITY SUPERVISION (MAD)
Defendant.

THE PARTIES AGREE AND THE COURT FINDS THAT:

1. This Court has jurisdiction over the subject matter of this action and Defendant
hereto pursuant to 28 U.S.C. § 1331.

2. Venue properly lies pursuant to 28 U.S.C. § 1391(b)(2).

3. Based on the foregoing recommendations made by both Plaintiff's expert and
DOCCS’ psychologist, following the execution of this Consent Decree, Defendant agrees to
continue Plaintiffs enrollment in the Building Maintenance Program commencing in the Fal] 2024
term and each term thereafter so long as he remains qualified for the program, and to provide the
following reasonable accommodations to Plaintiff when he is attending the Building Maintenance
Program:

(a) use of a SARA reader device with audio capabilities; (b) access to one-on-one
assistance via an Incarcerated Peer Assistant (“IPA”) or Building Maintenance
instructor; () use of a talking dictionary; (d) use of graphic organizers with visual
aids; (e) review of lessons previously taught in the Building Maintenance Program
with repetition; (f) access to a talking calculator; (g) short breaks when needed, but

no more frequent than every half hour; and (h) extra time when a new topic is

introduced.

Case 9:20-cv-00301-MAD-TWD Document119_ Filed 07/03/24 Page2of5

4, Defendant further agrees to provide Plaintiff with an individualized assessment
conducted by a licensed psychologist in the Summer of 2025 in order to receive any new or
amended reasonable accommodation recommendations. Defendant shall serve a copy of any
resulting report on Plaintiffs counsel and consider any adjustments in Plaintiff's reasonable
accommodation as recommended by the psychologist.

5. The reasonable accommodations set forth in paragraph 3 above, and any
modifications made thereto pursuant to paragraph 4 above, shall remain in place for a term expiring
on the earlier of two years from the date that this Consent Decree is so ordered by the Court or
upon Plaintiff's successful completion of the Building Maintenance Program.

6. Nothing herein shall be construed by Defendant to in any way limit its obligation
to provide Plaintiff with reasonable accommodation to ensure Plaintiff's meaningful access to
programs and services offered by DOCCS other than the Building Maintenance Program.

7. The parties agree and acknowledge that the execution of this Consent Decree does
not constitute an admission by Defendant of any constitutional violations, wrongdoing, or liability
on behalf of Defendant. This Consent Decree does not form and shall not be claimed as any
precedent for or an agreement by the parties to any generally applicable policy or procedure in the

future.

8. Solely for purposes of this Consent Decree, Defendant agrees that the prospective
relief set out in this Consent Decree satisfies the requirements of 18 U.S.C. § 3626(a)(1)(A), and
it does not object to a finding by the Court that the specific prospective relief set out herein is
narrowly drawn, extends no further than necessary, and is the least intrusive means necessary to
correct the violations of federal rights alleged by the Plaintiff. Defendant agrees not to seek

termination of this Consent Decree during its two-year term on the grounds set out in 18 U.S.C. §

Case 9:20-cv-00301-MAD-TWD Document119_ Filed 07/03/24 Page3of5

3626(b)(2) or based upon the absence of any other findings of fact by the Court. Except to enforce
this Consent Decree during its two-year term, this clause shall not be admissible against Defendant
in any court for any purpose.

9. Law Office of Amy Jane Agnew, P.C. will make an application for an award of
attorneys’ fees and costs that were incurred by the Law Office of Amy Jane Agnew, P.C. within
thirty days of the entry of this Consent Decree. The Court will retain jurisdiction over such an
application and rule on that application pursuant to the Rehabilitation Act and other relevant law.
Entry of this Consent Decree shall not release Plaintiffs’ claims for attorneys’ fees and costs.

10. This Decree will automatically terminate upon the expiration of the two-year term
or upon Plaintiff's successful completion of the Building Maintenance Program as set forth in
paragraph 5 above, without the requirement of a motion pursuant to 18 U.S.C. § 3626(b)(1)(A) or
further action by the Court.

11. This Consent Decree may be executed in several counterparts, each of which shall
be deemed an original and which, taken together, shall constitute one and the same instrument.

12. The foregoing constitutes the entire agreement of the parties.

Dated: July 2.2024
New York, New York

LAW OFFICE OF AMY,JANE AGNEW, P.C.

By:

Bar Roll No. 700639
Counsel for Plaintiff

24 Fifth Avenue, Suite 1701
New York, New York 10001
Telephone: (973) 600-1724
Email: aj@ajagnew.com

Case 9:20-cv-00301-MAD-TWD Document119_ Filed 07/03/24 Page4of5

Dated: 7/3 _, 2024
Albany, New York
LETITIA JAMES
Attomey General
State of New York
Attorney for Defendants
The Capitol

Albany, New GZ
wea] LE: LELZ :

“U/ © C AaurdrR. Eversley

Pssistant Attomey General, of Counsel
Bar Roll No. 700641
Telephone: 518-776-2619

Email: Lauren. Eversley@ag.ny.gov

NYS DEPARTMENT OF CORRECTIONS
AND COMMUNITY SUPERVISION

By: fey Aa Cella AO
Name (printed): TAA Coflach
Title:  XECUT UV E » Cpl TY (AH) & 1 OER

Case 9:20-cv-00301-MAD-TWD Document119_ Filed 07/03/24 Page5of5

Dated: , New York

SO ORDERED:

HON. MAE A. D’AGOSTINO
UNITED STATES DISTRICT JUDGE

